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                                   4                                    UNITED STATES DISTRICT COURT
                                   5                                  NORTHERN DISTRICT OF CALIFORNIA
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                                   8   JANE DOE,                                          Case No.: 4:22-CV-00051-YGR
                                   9                                                      ORDER VACATING CASE MANAGEMENT
                                                       Plaintiff,                         CONFERENCE
                                  10
                                                  v.
                                  11
                                       META PLATFORMS, INC.,
Northern District of California




                                  12
 United States District Court




                                  13                   Defendant.

                                  14
                                              The Court has reviewed the docket in this action and understands that a motion to dismiss
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                                  16   will not be fully briefed until June 6, 2022. Accordingly, until the motion is fully briefed, the Court

                                  17   finds that a case management conference in this matter is premature and will reset it at a later date

                                  18   if appropriate. This order is not intended to be an indication as to the merits of the motion to

                                  19   dismiss.
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                                  21   IT IS SO ORDERED.
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                                  23   Dated: April 4, 2022
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                                  25                                                             YVONNE GONZALEZ ROGERS
                                                                                             UNITED STATES DISTRICT COURT JUDGE
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